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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                         Central District
                                                     __________  District of
                                                                          of California
                                                                             __________

        Bureau of Consumer Financial Protection                           )
                                                                          )
                                                                          )
                                                                          )
                            Plaintiff(s)                                  )
                                                                          )
                                v.                                                Civil Action No. 8:20ícví00043-JVS-ADS
                                                                          )
        Chou Team Realty, LLC; and see attached                           )
                                                                          )
                                                                          )
                                                                          )
                           Defendant(s)                                   )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bilal Abdelfattah
                                              a/k/a Belal Abdelfattah
                                              a/k/a Bill Abdel
                                           2 Enterprise Apt. 3210
                                           Aliso Viejo, CA 92656



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Bureau of Consumer Financial Protection
                                           Office of Enforcement
                                           1700 G Street, NW
                                           Washington, D.C. 20552
                                           ATTN: E. Vanessa Assae-Bille
                                           Email: elisabeth.assae-bille@cfpb.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Deputy Clerk
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11
12                    UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
13
14   Bureau of Consumer Financial Protection, )
                                                 ) Case No.:
15                       Plaintiff,              )
                                                 ) COMPLAINT
16                 vs.                           )
                                                 )
17   Chou Team Realty, LLC f/k/a Chou Team )
     Realty, Inc., d/b/a Monster Loans, d/b/a    )
18   MonsterLoans; Lend Tech Loans, Inc.;        )
     Docu Prep Center, Inc., d/b/a DocuPrep      )
19   Center, d/b/a Certified Document Center; )
     Document Preparation Services, LP, d/b/a )
20   DocuPrep Center, d/b/a Certified            )
     Document Center; Certified Doc Prep, Inc.; )
21   Certified Doc Prep Services, LP; Assure )
     Direct Services, Inc.; Assure Direct        )
22   Services, LP; Direct Document Solutions, )
     Inc.; Direct Document Solutions, LP;        )
23   Secure Preparation Services, Inc.; Secure )
     Preparation Services, LP; Docs Done         )
24   Right, Inc.; Docs Done Right, LP; Bilal     )
     Abdelfattah, a/k/a Belal Abdelfattah, a/k/a )
25   Bill Abdel; Robert Hoose; Eduardo “Ed” )
     Martinez; Jawad Nesheiwat; Frank            )
26   Anthony Sebreros; and David Sklar,          )
                                                 )
27                       Defendants,             )
28
                                       COMPLAINT
                                           1
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1    Thomas “Tom” Chou; and Sean Cowell,          )
                                                  )
2                        Defendants and           )
                         Relief Defendants,       )
3                                                 )
     Kenneth Lawson; Cre8labs, Inc.; XO           )
4    Media, LLC; and TDK Enterprises,             )
     LLC,                                         )
5                                                 )
                         Relief Defendants.       )
6                                                 )
7
8                            JURISDICTION AND VENUE
9          1.     This Court has subject-matter jurisdiction over this action because
10   it is brought under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1),
11   presents a federal question, 28 U.S.C. § 1331, and is brought by an agency of
12   the United States, 28 U.S.C. § 1345.
13         2.     Venue is proper in this district because Defendants and Relief
14   Defendants are located, reside, or do business in this district. 12 U.S.C.
15   § 5564(f).
16                                  INTRODUCTION
17         3.     The Bureau of Consumer Financial Protection (Bureau) brings this
18   action to address unlawful conduct by several companies and individuals in
19   connection with providing debt-relief services to consumers with student loans.
20         4.     Between 2015 and 2017, a mortgage company known as Monster
21   Loans unlawfully obtained consumer reports from the consumer-reporting
22   agency Experian. Monster Loans provided the reports to other companies that
23   used the reports to market debt-relief services to consumers with student loans.
24   From August 2017 through at least January 2019, a sham entity known as Lend
25   Tech also unlawfully obtained consumer reports from Experian and provided
26   them to other companies, including companies that used the lists to market
27   student-loan debt-relief services.
28
                                          COMPLAINT
                                              2
